                                Case 2:19-cv-04755-ODW-E Document 100 Filed 02/12/21 Page 1 of 12 Page ID #:10071




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                                       12 Attorneys for Defendants
                                          NUTRISYSTEM, INC. and
F ENW ICK & W ES T LLP




                                       13 NUTRI/SYSTEM IPHC, INC.
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                                       15                             UNITED STATES DISTRICT COURT
                                       16                           CENTRAL DISTRICT OF CALIFORNIA
                                       17                                       WESTERN DIVISION
                                       18
                                       19 PACIFIC PACKAGING CONCEPTS,                    Case No.: 2:19-cv-04755-ODW(Ex)
                                          INC., a California corporation,
                                       20                                                DECLARATION OF ERIC BALL IN
                                                           Plaintiff,                    SUPPORT OF NUTRISYSTEM’S
                                       21                                                OPPOSITION TO PLAINTIFF’S
                                                 v.                                      MOTION FOR PARTIAL
                                       22                                                SUMMARY JUDGMENT
                                       23 NUTRISYSTEM,        INC., a Delaware
                                          corporation; NUTRI/SYSTEM IPHC,                Hearing:   March 8, 2021
                                       24 INC., a Delaware corporation; and DOES         Time:      1:30 p.m.
                                          1-10, inclusive,                               Ctrm:      5D, 5th Floor
                                       25                                                Judge:     Hon. Otis D. Wright II
                                                           Defendants.
                                       26                                                Trial Date: April 20, 2021
                                       27
                                       28

                                            BALL DECL ISO NUTRISYSTEM’S OPPOSITION TO
                                            MOTION FOR PARTIAL SUMMARY JUDGMENT                       Case No. 2:19-cv-04755-ODW(Ex)
                                Case 2:19-cv-04755-ODW-E Document 100 Filed 02/12/21 Page 2 of 12 Page ID #:10072




                                        1           I, Eric Ball, declare pursuant to 28 U.S.C. § 1746 as follows:
                                        2           1.     I am an attorney admitted to practice in California and a partner in the
                                        3 law firm of Fenwick & West LLP, counsel for Defendants Nutrisystem, Inc. and
                                        4 Nutri/System IPHC, Inc. (“Nutrisystem”) in this lawsuit filed by Pacific Packaging
                                        5 Concepts, Inc. (“Pacific Packaging”). I make this declaration based on my own
                                        6 personal knowledge in support of Nutrisystem’s Opposition to Plaintiff’s Motion
                                        7 for Partial Summary Judgment. If called as a witness, I could testify competently to
                                        8 the facts set forth here.
                                        9 Trademark Records
                                       10           2.     Attached as Exhibit 1 is a copy of the Trademark Electronic Search
                                       11 System record for the Nutrisystem Sure Start, U.S. registration No. 2,100,874,
                                       12 which was cancelled on January 11, 2013, produced by Nutrisystem as
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                                       13 NUTRISYSTEM00002548.
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                                       14           3.     Attached as Exhibit 2 is a copy of the Trademark Electronic Search
                                       15 System record for Nutrisystem Simply Fresh, U.S. registration No. 4,482,949,
                                       16 produced by Nutrisystem as NUTRISYSTEM00009482.
                                       17           4.     On January 15, 2019, a trademark examiner with the USPTO ran a
                                       18 search in relation to Nutrisystem’s trademark application for Fresh Start in
                                       19 International Class 29, Serial No. 88,183,300. The record of that search and the
                                       20 search parameters used are visible on page 127 of Exhibit 3 in Paragraph 8 of the
                                       21 Declaration of Jay Butt in Support of Nutrisystem’s Opposition to Plaintiff’s
                                       22 Motion for Partial Summary Judgment, the Trademark Search and Retrieval
                                       23 Document for Nutrisystem’s application Serial No. 88,183,300. Attached as
                                       24 Exhibit 3 is a copy of search results from a Trademark Electronic Search System
                                       25 search I ran on February 2, 2021, replicating the XSearch parameters the USPTO
                                       26 trademark examiner used on January 15, 2019 when reviewing for Nutrisystem’s
                                       27 application Serial No. 88,183,300: (*phr{v}{"szc"}h* *fr{v}{"szc"}h*)[bi,ti] and
                                       28 live[ld] and *{"szc"}t{v}rt*[bi,ti] and live[ld]. The search result for Pacific

                                            BALL DECL ISO NUTRISYSTEM’S OPPOSITION TO
                                            MOTION FOR PARTIAL SUMMARY JUDGMENT          1               Case No. 2:19-cv-04755-ODW(Ex)
                                Case 2:19-cv-04755-ODW-E Document 100 Filed 02/12/21 Page 3 of 12 Page ID #:10073




                                        1 Packaging’s claimed mark, Serial No. 75,510,636 is highlighted and visible at
                                        2 result number 128 out of 137 in Exhibit 3.
                                        3           5.     On August 23, 2019 a trademark examiner with the USPTO ran a
                                        4 second, narrower search in relation to Nutrisystem’s trademark application for
                                        5 Fresh Start in International Class 29, Serial No. 88,183,300. The record of that
                                        6 search and the search parameters used are visible on page 31 of Exhibit 3 in
                                        7 Paragraph 8 of the Declaration of Jay Butt in Support of Nutrisystem’s Opposition
                                        8 to Plaintiff’s Motion for Partial Summary Judgment, the Trademark Search and
                                        9 Retrieval Document for Nutrisystem’s application Serial No. 88,183,300. Attached
                                       10 as Exhibit 4 is a copy of search results from a Trademark Electronic Search System
                                       11 search I ran on February 2, 2021, replicating the XSearch parameters the USPTO
                                       12 trademark examiner used on August 23, 2019 when reviewing for Nutrisystem’s
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                                       13 application Serial No. 88,183,300: fresh start"[bi,ti] and live[ld] and 029[cc]. The
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                                       14 search result for Pacific Packaging’s mark, Serial No. 75,510,636 is highlighted and
                                       15 visible at result number 29 out of 33 in Exhibit 4.
                                       16 Third-Party Marks
                                       17           6.     Attached as Exhibit 5 is a copy of the search results landing page for
                                       18 "fresh start" on Amazon.com captured on August 13, 2020, produced by
                                       19 Nutrisystem as ‘NUTRISYSTEM00025811.
                                       20           7.     Attached as Exhibit 6 is a copy of the Fresh Start Gourmet Facebook
                                       21 page, captured on November 8, 2019 at facebook.com, produced by Nutrisystem as
                                       22 NUTRISYSTEM00000266.
                                       23           8.     Attached as Exhibit 7 is a copy of the Gerber Freshful Start website
                                       24 captured on November 21, 2019 at gerber.com/freshful-start, produced by
                                       25 Nutrisystem as NUTRISYSTEM00000294.
                                       26           9.     Attached as Exhibit 8 is a copy of the Fresh Start Wellness website
                                       27 captured on November 8, 2019 at fswnutrition.com/home, produced by Nutrisystem
                                       28 as NUTRISYSTEM00000446.

                                            BALL DECL ISO NUTRISYSTEM’S OPPOSITION TO
                                            MOTION FOR PARTIAL SUMMARY JUDGMENT         2               Case No. 2:19-cv-04755-ODW(Ex)
                                Case 2:19-cv-04755-ODW-E Document 100 Filed 02/12/21 Page 4 of 12 Page ID #:10074




                                        1           10.    Attached as Exhibit 9 is a copy of the Fresh Start Rader Farms website
                                        2 captured on January 3, 2020 at raderfarms.com/products/fresh-start, introduced as
                                        3 Exhibit 145 at the Deposition of Jennifer Cole, produced by Nutrisystem as
                                        4 NUTRISYSTEM00000845.
                                        5           11.    Attached as Exhibit 10 is a copy of a product image of Fresh Start
                                        6 organic daily power smoothie blend from Rader Farms website captured on October
                                        7 12, 2020 at raderfarms.com/products/fresh-start-organic daily-power, introduced as
                                        8 Exhibit 145 at the Deposition of Steve Schossberger.
                                        9           12.    Attached as Exhibit 11 is a copy of the Fresh Start Nutrition website
                                       10 captured on February 28, 2020 at freshstartliveoak.com, produced by Nutrisystem
                                       11 as NUTRISYSTEM00006938.
                                       12           13.    Attached as Exhibit 12 is a copy of the product image of Fresh Start
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                                       13 Kit from the Herbalist captured on December 10, 2020 at amazon.com, introduced
                         LAW
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                                       14 as Exhibit 140 at the Deposition of Bob Cole, produced by Nutrisystem as
                                       15 NUTRISYSTEM00026824.
                                       16           14.    Attached as Exhibit 13 is a copy of the product image of Fresh Start
                                       17 Kit from Young Living captured on December 10, 2020 at essentialoilsage.com,
                                       18 produced by Nutrisystem as NUTRISYSTEM00026837.
                                       19           15.    Attached as Exhibit 14 is a copy of the Fresh Start - A Sugar Free Life
                                       20 website captured on December 10, 2020 at asugarfreelife.com, produced by
                                       21 Nutrisystem as NUTRISYSTEM00026841.
                                       22           16.    Attached as Exhibit 15 is a copy of the Fresh from the Start website
                                       23 captured on December 10, 2020 at freshfromthestart.com, produced by Nutrisystem
                                       24 as NUTRISYSTEM00026846.
                                       25           17.    Attached as Exhibit 16 is a copy of the blog post on Fresh Start
                                       26 Cleansing Program from Kern Wellness captured on December 10, 2020 at
                                       27 kernwellness.com, produced by Nutrisystem as NUTRISYSTEM00026868.
                                       28           18.    Attached as Exhibit 17 is a copy of the product image of Fresh Start

                                            BALL DECL ISO NUTRISYSTEM’S OPPOSITION TO
                                            MOTION FOR PARTIAL SUMMARY JUDGMENT         3               Case No. 2:19-cv-04755-ODW(Ex)
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                                        1 Cleanse dietary supplement capsules captured on December 10, 2020 at
                                        2 concentrixfit.com, produced by Nutrisystem as NUTRISYSTEM00026886.
                                        3           19.    Attached as Exhibit 18 is a copy of the product image of Fresh Start
                                        4 Cleanse dietary supplement captured on December 10, 2020 at vitacost.com,
                                        5 produced by Nutrisystem as NUTRISYSTEM00026903.
                                        6           20.    Attached as Exhibit 19 is a copy of the website for Melanie Zook,
                                        7 who uses Fresh Start Nutrition for counseling services, captured on November 8,
                                        8 2019 at freshstartnutrition.com, produced by Nutrisystem as
                                        9 NUTRISYSTEM00000263.
                                       10           21.    Attached as Exhibit 20 is a copy of the product image of Home
                                       11 Slimming Kit - Cathi Graham’s Fresh Start Metabolism Program captured on
                                       12 November 21, 2019 at biblio.com website, produced by Nutrisystem as
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                                       13 NUTRISYSTEM00000286-287.
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                                       14           22.    Attached as Exhibit 21 is a copy of Pacific Packaging’s coexistence
                                       15 agreement with Nature’s Sunshine regarding its Cleanstart mark, introduced as
                                       16 Exhibit 134 at the Deposition of Bob Cole, produced by Pacific Packaging as
                                       17 PPC0000445.
                                       18           23.    Attached as Exhibit 22 is a copy of Pacific Packaging’s coexistence
                                       19 agreement with 4Life regarding its Start+ mark, introduced as Exhibit 135 at the
                                       20 Deposition of Bob Cole, produced by Pacific Packaging as PPC0000188.
                                       21           24.    Attached as Exhibit 23 is a copy of Pacific Packaging’s coexistence
                                       22 agreement with Basic Research d/b/a Silver Sage regarding its Thyrostart mark,
                                       23 introduced as Exhibit 136 at the Deposition of Bob Cole, produced by Pacific
                                       24 Packaging as PPC0000196.
                                       25           25.    Attached as Exhibit 24 is a copy of Pacific Packaging’s coexistence
                                       26 agreement with XM International regarding its Estro start mark, introduced as
                                       27 Exhibit 137 at the Bob Cole Deposition, produced by Pacific Packaging as
                                       28 PPC0000439.

                                            BALL DECL ISO NUTRISYSTEM’S OPPOSITION TO
                                            MOTION FOR PARTIAL SUMMARY JUDGMENT         4              Case No. 2:19-cv-04755-ODW(Ex)
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                                        1           26.    Attached as Exhibit 25 is a copy of Pacific Packaging’s agreement
                                        2 with Charles Thompson regarding its Bodystart mark, introduced as Exhibit 126 at
                                        3 the Jonathan Cole Deposition, produced by Pacific Packaging as PPC0000058.
                                        4           27.    Attached as Exhibit 26 is a copy of Pacific Packaging’s agreement
                                        5 with GSL Tech In. regarding its Bio-Start mark, produced by Pacific Packaging as
                                        6 PPC0000006.
                                        7           28.    Attached as Exhibit 27 is a copy of Pacific Packaging’s coexistence
                                        8 agreement with Atlanta, Inc. regarding its Strongstart mark, produced by Pacific
                                        9 Packaging as PPC0000142.
                                       10           29.    Attached as Exhibit 28 is a copy of the jennycraig.com website
                                       11 featuring the Milk Chocolate Delight Shake Mix with Nutrition Facts label,
                                       12 captured on January 25, 2021.
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                                                    30.    Attached as Exhibit 29 is a copy of the weightwatchers.com website
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                                       14 featuring WW Chocolate Protein Booster protein powder blend with Nutrition Facts
                                       15 label, captured on January 25, 2021.
                                       16           31.    Attached as Exhibit 30 is a copy of the MultivitaminGuide’s Ranking:
                                       17 Best Multivitamins in 2020, as captured from the multivitaminguide.org website on
                                       18 August 6, 2020, introduced as Exhibit 121 to the Deposition of Bob Cole, produced
                                       19 by Nutrisystem as NUTRISYSTEM00010529.
                                       20 Dietary Supplement References
                                       21           32.    Attached as Exhibit 31 is a copy of the U.S. Food and Drug
                                       22 Administration website page on Dietary Supplements, captured on February 12,
                                       23 2021 at https://www.fda.gov/food/dietary-supplements.
                                       24           33.    Attached as Exhibit 32 is a copy of the U.S. Food and Drug
                                       25 Administration’s “Guidance for Industry Distinguishing Liquid Dietary
                                       26 Supplements from Beverages” dated January 2014.
                                       27           34.    Attached as Exhibit 33 is a copy of the GanedenBC30 Style Guide,
                                       28 produced by Nutrisystem as NUTRISYSTEM00024223.

                                            BALL DECL ISO NUTRISYSTEM’S OPPOSITION TO
                                            MOTION FOR PARTIAL SUMMARY JUDGMENT         5              Case No. 2:19-cv-04755-ODW(Ex)
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                                        1           35.    Attached as Exhibit 34 is a copy of the GanedenBC30 Trademark
                                        2 Letter, produced by Nutrisystem as NUTRISYSTEM00024237.
                                        3 Nutrisystem Marketing
                                        4           36.    Attached as Exhibit 35 is a copy of a product image of Nutrisystem
                                        5 FreshStart Shake in Chocolate and Vanilla captured on December 11, 2019 at
                                        6 Nutrisystem.com website, produced by Nutrisystem as NUTRISYSTEM00005271.
                                        7           37.    Attached as Exhibit 36 is a copy of a photograph of Nutrisystem
                                        8 FreshStart Patrol marketers in Times Square, New York, taken at the direction of a
                                        9 Nutrisystem marketing employee, produced by Nutrisystem as
                                       10 NUTRISYSTEM00002318.
                                       11 Pacific Packaging Marketing
                                       12           38.    Attached as Exhibit 37 is a copy of the freshstartvitamins.com
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                                       13 website, as captured by the Internet Archive on October 29, 2012, featuring the first
                         LAW
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                                       14 archived use of Pacific Packaging’s leaf logo, produced by Nutrisystem as
                                       15 NUTRISYSTEM00009554.
                                       16           39.    Attached as Exhibit 38 is a copy of an image of the Fresh Start
                                       17 Vitamin Company Website introduced as Exhibit 102 at the Deposition of Bob
                                       18 Cole, produced by Nutrisystem as NUTRISYSTEM00025799.
                                       19           40.    Attached as Exhibit 39 is a copy of an image of the Fresh Start
                                       20 Vitamin and Mineral Packet Box, introduced as Exhibit 107 at the Deposition of
                                       21 Jonathan Cole, produced by Nutrisystem as NUTRISYSTEM00025801.
                                       22           41.    Attached as Exhibit 40 is a copy of an image of the Great Start
                                       23 vitamin packet, as sold on Instacart, introduced as Exhibit 107 at the Deposition of
                                       24 Jonathan Cole, produced by Nutrisystem as NUTRISYSTEM00025893.
                                       25           42.    Attached as Exhibit 41 is a copy of an image of the Great Start
                                       26 vitamin packet, as sold by Value Distributor, introduced as Exhibit 110 at the
                                       27 Deposition of Jonathan Cole, produced by Nutrisystem as
                                       28 NUTRISYTEM00025971.

                                            BALL DECL ISO NUTRISYSTEM’S OPPOSITION TO
                                            MOTION FOR PARTIAL SUMMARY JUDGMENT         6              Case No. 2:19-cv-04755-ODW(Ex)
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                                        1           43.    Attached as Exhibit 42 is a copy of an image of the Great Start
                                        2 vitamin packet, as sold on CB Distributors, Inc., introduced as Exhibit 111 at the
                                        3 Deposition of Jonathan Cole, produced by Nutrisystem as
                                        4 NUTRISYSTEM00025873.
                                        5           44.    Attached as Exhibit 43 is a copy of an image of the Fresh Start
                                        6 Vitamin Company Website’s About Us page introduced as Exhibit 114 at the
                                        7 Deposition of Jonathan Cole, produced by Nutrisystem as
                                        8 NUTRISYSTEM00025805.
                                        9           45.    Attached as Exhibit 44 is a copy of an image of the Product Catalog
                                       10 for Fresh Start Vitamin Company, produced by Pacific Packaging as PPC0000098.
                                       11           46.    Attached as Exhibit 45 is a copy of an image of the “World’s Best
                                       12 Daily Packet Vitamin Formulas” Fresh Start Vitamin Co. Product Catalogue,
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                                       13 produced by Pacific Packaging as PPC0000061.
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                                       14           47.    Attached as Exhibit 46 is a copy of the Pacific Packaging Facebook
                                       15 page for "Fresh Start Vitamins" captured on September 28, 2020 with 49 likes and
                                       16 48 followers at Facebook.com/freshstartvitamincompany, introduced as Exhibit 119
                                       17 at the Deposition of Jonathan Cole, produced by Nutrisystem as
                                       18 NUTRISYSTEM00025825.
                                       19           48.    Attached as Exhibit 47 is a copy of a claimed screencap from the
                                       20 movie “Superbad” featuring two police officers and McLovin in a liquor store,
                                       21 introduced as Exhibit 131 at the Deposition of Bob Cole, produced by Pacific
                                       22 Packaging as PPC0000574.
                                       23           49.    Attached as Exhibit 48 is a copy of a claimed screencap from the
                                       24 movie “Blue Streak” featuring a character in a convenience store, introduced as
                                       25 Exhibit 132 at the Deposition of Bob Cole, produced by Pacific Packaging as
                                       26 PPC0000562.
                                       27           50.    Attached as Exhibit 49 is a copy of a claimed screencap from the
                                       28 television show “Family Guy” featuring a sales clerk pointing to a rack on the sales

                                            BALL DECL ISO NUTRISYSTEM’S OPPOSITION TO
                                            MOTION FOR PARTIAL SUMMARY JUDGMENT         7              Case No. 2:19-cv-04755-ODW(Ex)
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                                        1 counter, introduced as Exhibit 120 at the Deposition of Bob Cole, produced by
                                        2 Pacific Packaging as PPC0000566.
                                        3 Pacific Packaging Financial Documents
                                        4           51.    Attached as Exhibit 50 is a copy the U.S. Income Tax Returns for
                                        5 Pacific Packaging for 2010 to 2019, produced by Pacific Packaging as
                                        6 PPC0004669.
                                        7           52.    Attached as Exhibit 51 is a copy the Master Distributor Price List
                                        8 Effective February 1, 2019 for Fresh Start Vitamin Company, produced by Pacific
                                        9 Packaging as PPC0002471.
                                       10 Discovery Responses
                                       11           53.    Attached as Exhibit 52 is a copy of the excerpted Nutrisystem’s
                                       12 Responses to Plaintiff’s First Set of Requests for Admission, highlighting the
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                                       13 responses to Nos. 104, 105, 107, dated December 16, 2019.
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                                       14           54.    Attached as Exhibit 53 is a copy of the excerpted Pacific Packaging’s
                                       15 Supplemental Responses to Nutrisystem’s First Set of Interrogatories, highlighting
                                       16 the response to No. 4, dated May 4, 2020.
                                       17           55.    Attached as Exhibit 54 is a copy of the excerpted Plaintiff’s
                                       18 Supplemental Responses to Defendant’s Second Set of Interrogatories, highlighting
                                       19 the response to No. 14, dated October 26, 2020.
                                       20           56.    Attached as Exhibit 55 is a copy of the excerpted Plaintiff’s
                                       21 Responses to Defendant’s Fourth Set of Interrogatories, highlighting the response
                                       22 to No. 18, dated October 5, 2020.
                                       23           57.    Attached as Exhibit 56 is a copy of the excerpted Plaintiff’s
                                       24 Responses to Defendant’s Fifth Set of Interrogatories, highlighting responses to
                                       25 Nos. 20, 21, 24, dated October 26, 2020.
                                       26           58.    Attached as Exhibit 57 is a copy of the excerpted Plaintiff’s
                                       27 Responses to Nutrisystem’s First Set of Requests for Admission, highlighting
                                       28 responses to Nos. 5–13, 44, 47, 50, 53, 59, 78, 82–84 dated December 2, 2019.

                                            BALL DECL ISO NUTRISYSTEM’S OPPOSITION TO
                                            MOTION FOR PARTIAL SUMMARY JUDGMENT         8               Case No. 2:19-cv-04755-ODW(Ex)
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                                        1           59.    Attached as Exhibit 58 is a copy of the excerpted Plaintiff’s
                                        2 Supplemental Responses to Nutrisystem’s First Set of Requests for Admission,
                                        3 highlighting responses to Nos. 109, 110, dated May 6, 2020.
                                        4           60.    Attached as Exhibit 59 is a copy of the excerpted Plaintiff’s
                                        5 Responses to Nutrisystem’s Second Set of Requests for Admission, highlighting the
                                        6 response to No. 117 dated April 10, 2020.
                                        7           61.    Attached as Exhibit 60 is a copy of the excerpted Plaintiff’s
                                        8 Responses to Nutrisystem’s Third Set of Requests for Admission, highlighting the
                                        9 response to No. 225, dated June 26, 2020.
                                       10           62.    Attached as Exhibit 61 is a copy of the excerpted Plaintiff’s
                                       11 Responses to Defendant’s First Set of Request for Production of Documents,
                                       12 highlighting the response to No. 54, dated December 2, 2019.
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                                       13 Nutrisystem’s Witness Deposition Testimony
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                                       14           63.    Attached as Exhibit 62 is a copy of the excerpted transcript of the
                                       15 Deposition of Bill MacBride, taken on September 22, 2020.
                                       16           64.    Attached as Exhibit 63 is a copy of the excerpted transcript of the
                                       17 Deposition of Chris MacDonald, taken on September 24, 2020.
                                       18           65.    Attached as Exhibit 64 is a copy of the excerpted transcript of the
                                       19 Deposition of Jay Butt, taken on October 20, 2020.
                                       20           66.    Attached as Exhibit 65 is a copy of the excerpted transcript of the
                                       21 Deposition of Keira Krausz, taken on September 21, 2020.
                                       22           67.    Attached as Exhibit 66 is a copy of the excerpted transcript of the
                                       23 Deposition of LeeAnn Kindness, taken on September 29, 2020.
                                       24 Plaintiff’s Witness Deposition Testimony
                                       25           68.    Attached as Exhibit 67 is a copy of the excerpted transcript of the
                                       26 Deposition of Aubrey “Bob” Cole, taken on October 9, 2020.
                                       27           69.    Attached as Exhibit 68 is a copy of the excerpted transcript of
                                       28 Deposition of Jonathan Cole, taken on October 8, 2020.

                                            BALL DECL ISO NUTRISYSTEM’S OPPOSITION TO
                                            MOTION FOR PARTIAL SUMMARY JUDGMENT         9               Case No. 2:19-cv-04755-ODW(Ex)
                          Case 2:19-cv-04755-ODW-E Document 100 Filed 02/12/21 Page 11 of 12 Page ID #:10081




                                        1           70.    Attached as Exhibit 69 is a copy of the excerpted transcript of the
                                        2 Deposition of Jennifer Cole, taken on October 14, 2020.
                                        3           71.    Attached as Exhibit 70 is a copy of the excerpted transcript of the
                                        4 Deposition of Cynthia “Cindy” Cole, taken on October 16, 2020.
                                        5           72.    Attached as Exhibit 71 is a copy of Nutrisystem’s Notice of Subpoena
                                        6 for Production of Documents and to Testify at a Deposition in a Civil Action to
                                        7 Christian Hauter.
                                        8           73.    Attached as Exhibit 72 is a copy of the excerpted transcript of the
                                        9 Deposition of Christian Hauter, taken on October 19, 2020.
                                       10           74.    Attached as Exhibit 73 is a copy of the excerpted transcript of the
                                       11 Deposition of Plaintiff’s expert Christian Tregillis, taken on December 10, 2020.
                                       12 Third Party Deposition Testimony
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                                                    75.    Attached as Exhibit 74 is a copy of the Notice of Subpoena to Testify
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                                       14 at a Deposition in a Civil Action to Michael Finamore of Gemini Pharmaceuticals.
                                       15           76.    Attached as Exhibit 75 is a copy of the excerpted transcript of the
                                       16 Deposition of Michael Finamore of Gemini Pharmaceuticals, taken on October 9,
                                       17 2020.
                                       18           77.    Attached as Exhibit 76 is a copy of the Notice of Subpoena to Testify
                                       19 at a Deposition in a Civil Action to Steven Schossberger of Oregon Potato
                                       20 Company.
                                       21           78.    Attached as Exhibit 77 is a copy of the excerpted transcript of the
                                       22 Deposition of Steven Schossberger of Oregon Potato Company, taken on October
                                       23 13, 2020.
                                       24 Additional Documents
                                       25           79.    Attached as Exhibit 78 is a copy of ancillary Pacific Packaging
                                       26 Records, produced by Pacific Packaging as PPC0004494.
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                                            BALL DECL ISO NUTRISYSTEM’S OPPOSITION TO
                                            MOTION FOR PARTIAL SUMMARY JUDGMENT         10              Case No. 2:19-cv-04755-ODW(Ex)
                          Case 2:19-cv-04755-ODW-E Document 100 Filed 02/12/21 Page 12 of 12 Page ID #:10082




                                        1           80.    Attached as Exhibit 79 is a copy of a press release regarding “Fresh
                                        2 Start Energy Beverage” from Nantze Springs Inc., captured on November 11, 2021
                                        3 at bevindustry.com.
                                        4
                                        5           I declare under penalty of perjury that the foregoing is true and correct.
                                        6 Executed on February 12, 2021.
                                        7
                                        8
                                        9                                                /s/ Eric Ball
                                       10                                                Eric Ball

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                                            BALL DECL ISO NUTRISYSTEM’S OPPOSITION TO
                                            MOTION FOR PARTIAL SUMMARY JUDGMENT         11               Case No. 2:19-cv-04755-ODW(Ex)
